EXHIBIT B
J USTIN D. H EIDEMAN (USB #8897)
N ORMAN W. P EAT , J R . (USB #17836)
H EIDEMAN & A SSOCIATES
2696 North University Avenue, Suite 180                          THIS MOTION REQUIRES
                                                                YOU TO RESPOND. PLEASE
Provo, Utah 84604
                                                                   SEE THE NOTICE TO
Telephone: (801) 472-7742
Facsimile: (801) 374-1724                                         RESPONDING PARTY.
Email:         jheideman@heidlaw.com
       npeat@heidlaw.com
Attorney for Plaintiff

                    IN THE FOURTH JUDICIAL DISTRICT COURT
                    IN AND FOR UTAH COUNTY, STATE OF UTAH

MOUTAIN RUN SOLUTIONS, LLC, a                               A MENDED
Utah Limited Liability Company,                  M OTION FOR P REJUDGMENT W RIT
       Plaintiff,                                 OF A TTACHMENT , AND W RIT OF
                                                          G ARNISHMENT
vs.
                                                        (R EQUEST FOR H EARING )
CAPITAL LINK MANAGEMENT, LLC, a
Utah Foreign Limited Liability Company,                    Case No.: 220401093
                                                         Judge: Hon. Sean Petersen
       Defendant.


       COMES NOW, Plaintiff, M OUNTAIN R UN S OLUTIONS , LLC, (“Plaintiff,” or

“MRS”) by and through undersigned counsel, and pursuant to Utah R. Civ. P. 7, 64A,

64C, and 64D, hereby submits to this Court Plaintiff’s Motion for Prejudgment Writ of

Attachment, and Writ of Garnishment.

                       R ELIEF S OUGHT AND G ROUNDS T HEREFOR

      Plaintiff seeks a writ of attachment and writ of garnishment from this Court, and

requests permission to take possession of property currently held by Defendant, C APITAL

R UN S OLUTIONS , LLC, (hereafter “Defendant,” or “CRS”), for the purpose of securing

Plaintiff’s interest in monies and assets belonging to, and owed to Plaintiff as of June 30,


                                         Page 1 of 15
2022, for the abandonment of Defendant’s contractual duties under the Parties’ Collection

Agreement (hereinafter the “Agreement”). Plaintiff additionally prays for the issuance

of a prejudgment writ of garnishment.

       The basis for this motion is outlined in Utah R. Civ. P. 64A, 64C, and 64D, the

Verified Complaint, and Affidavit of Brian Fuller filed contemporaneously herewith.

                S TATEMENT OF F ACTS AS A LLEGED IN V ERIFIED C OMPLAINT

1.      Plaintiff is a limited liability company located in Orem, Utah .

2.      Plaintiff is a company that specializes in purchasing non -performing receivables 1

        in all industries. 2

3.      Plaintiff started operations on or about May 2015, as Perfection Collection, LLC. 3

4.      In 2019, Plaintiff changed its name from Perfection Collection, LLC, to Mountain

        Run Solutions, LLC. 4

5.      Defendant is a third-party collection agency that specializes in, but not limited to,

        the collection of consumer, commercial, installment loan, and medical debt. 5

6.      On January 6, 2015, agents for Defendant, Jonathan Rinker (“Mr. Rinker”), and

        Samuel Piccione (“Mr. Piccione”) entered in to, and signed, the Agreement on

        behalf of, and for Defendant, with Plaintiff in effort to re cover non-performing

        receivables on behalf of Plaintiff. 6


1
  A “non-performing Receivable means a Receivable (i.e., monies) that becomes 90 days past due.” See
https://www.lawinsider.com/dictionary/non-performing-receivable (last visited July 5, 2022).
2
  Affidavit of Brian Fuller, ¶ 4.
3
  Id. at 5.
4
  Id. at 6.
5
  Defendant’s operated its third-party collection agency under the name of previous name of Commerce Recovery and
Capital Management, LLC.
6
  See Collection Agreement attached hereto as Exhibit 1; see also Fuller Aff. at ¶ 7.


                                                  Page 2 of 15
7.        Pursuant to the terms of the Agreement, Plaintiff agreed that it would assign

          delinquent accounts of Plaintiff it owned with Defendant for collect efforts. 7

8.        Pursuant to the terms of the Agreement, Defendant agreed that it was to take “all

          reasonable steps to collect Accounts assigned to it (Defendant). 8

9.        Defendant accepted a forty (40) percent commission “on any payments that debtors

          send directly to Client (Plaintiff) for assigned Account. . .” 9

10.       Pursuant to the terms of the Agreement, Defendant was required to, and agreed

          that “[a]ll funds collected on Accounts shall be paid monthly minus the Agency’s

          (Defendant’s) fee.” 10

11.       Plaintiff started placing accounts with Defendant shortly after the Parties signed

          the Agreement. 11

12.       Plaintiff continued placing accounts with Defendant until December 2020. 12

13.       In June of 2021, Plaintiff became concerned with Defendant’s ability to remit

          payments to Plaintiff from Defendant’s successful collection efforts. 13

14.       In anticipation of the Agreement being repudiated by Defendant, Plaintiff

          requested adequate assurance of performance by Defendant. 14




7
  Id. at ¶ 1; Fuller Aff. at ¶ 8.
8
  Id. at ¶ 2; Fuller Aff. at ¶ 9.
9
  Id. at ¶ 5; Fuller Aff. at ¶ 10.
10
   Id. at ¶ 7; Fuller Aff. at ¶ 11.
11
   Fuller Aff. at ¶ 12.
12
   Id. at ¶ 13.
13
   Id. at ¶ 14.
14
   Id. at ¶ 15.


                                            Page 3 of 15
15.      On June 23, 2021, agent for Plaintiff, Chris Carter (“Mr. Carter”) contacted

         Defendant to discern whether Defendant was going to remit amounts owed from

         the first half of May 2021. 15

16.      Specifically, Mr. Carter emailed Defendant requesting if Defendant is going to

         remit $48,482.96 that was due and owing. 16

17.      On June 29, 2021, after Defendant failed to remit the amount owed or even

         communicate with Plaintiff, Mr. Carter emailed Defendant again requesting

         whether the funds would be paid that day. 17

18.      Again, Defendant failed to remit any payments due and owning as required under

         the Agreement. 18

19.      On June 30, 2021, agent for Plaintiff, Brian Fuller (“Mr. Fuller”) contacted agent

         for Defendant, Mr. Piccione, concerning the failure to remit payments pursuant to

         the Parties’ Agreement. 19

20.      Mr. Piccione confirmed that Plaintiff would receive a payment the following day. 20

21.      Additionally, Mr. Piccione confirmed with Plaintiff that Defendant would cure all

         remaining outstanding amounts owed. 21

22.      On July 1, 2021, Defendant made a payment of $48,482.00 for the first half of the

         amount owed for May 2021. 22


15
   Id. at ¶ 16; see also Complaint Verified, ¶ 21.
16
   Id. at ¶ 17; Complaint at ¶ 22.
17
   Id. at ¶ 18; Complaint at ¶ 23.
18
   See Exhibit 1; see also Fuller Aff. ¶ 19; Complaint at ¶ 24.
19
   Fuller Aff. ¶ 20.
20
   Id. at ¶ 21.
21
   Id. at ¶ 22
22
   Id. at ¶ 23.


                                                     Page 4 of 15
23.      Nevertheless, Defendant still owed the outstanding balance for May 2021 of

         $40,016.36. 23

24.      On July 19, 2021, after Defendant failed to further remit any payments for the
                                                               24
         outstanding balance, Plaintiff contacted Defendant.

25.      Specifically, Mr. Carter emailed three of Defendant’s agents, Mr. Piccione, Mr.

         Rinker, and “Denisa,” requesting that the second half of May 2021 remit be paid. 25

26.      Defendant failed to respond. 26

27.      On July 22, 2021, Mr. Fuller contacted Mr. Piccione via text message. 27

28.      Mr. Fuller informed Mr. Piccione that Defendant has failed not only to remit the

         second half of May 2021’s payments, but Defendant has also failed to remit June

         2021 payments. 28

29.      Mr. Piccione asserted that on July 23, 2021, Defendant would send Plaintiff th e

         second half of May 2021’s payment, and both of July2021’s payments. 29

30.      Defendant, again failed to remit any payments as promised. 30

31.      Mr. Carter then sent Mr. Piccione text message on July 23, 2021, inquiring whether

         Defendant wired the outstanding payments as promised. 31

32.      Defendant, again, failed to respond. 32



23
   Id. at ¶ 24.
24
   Id. at ¶ 25.
25
   Id. at ¶ 26.
26
   Id. at ¶ 27; Complaint at ¶ 31.
27
   Id. at ¶ 28.
28
   Id. at ¶ 29.
29
   Id. at ¶ 30
30
   Id. at ¶ 31.
31
   Id. at ¶ 32; Complaint at ¶ 37.
32
   Id. at ¶ 33.


                                           Page 5 of 15
33.       Plaintiff then attempted to contact Defendant on July 29, 2021, concerning the past

          due outstanding payments. 33

34.       Defendant ignored this message as well. 34

35.       Finally, almost a month later, Defendant wired Plaintiff a $30,000.00 payment. 35

36.       On September 15, 2021, Mr. Fuller emailed Defendant’s agents, Mr. Piccione ,

          Mr. Rinker, and Denisa, concerning Defendant’s past due and owning amounts. 36

37.       Mr. Fuller requested that in order for Defendant to resolve all out standing balances

          that Defendant remit a payment of $30,000.00 by September 17, 2021. 37

38.       Thereafter, Defendant would be required to remit payments of $30,000.00 on the

          first and fifteenth of each month going forward until all past due and owing remits

          are resolved. 38

39.       Furthermore, Plaintiff notified that if Defendant cannot or will not resolve the

          outstanding, past due amounts by the expected timeline, Plaintiff will require

          Defendant from ceasing to run any future payments on accounts owned by

          Plaintiff. 39

40.       Unbelievably, in response to Plaintiff, Mr. Piccione made threats to Mr. Fuller. 40

41.       Specifically, Mr. Piccione made threats such as,

                  a. Don’t think I can’t just take a flight over to Utah.


33
   Id. at ¶ 34.
34
   Id. at ¶ 35.
35
   Id. at ¶ 36.
36
   Id. at ¶ 37.
37
   Id. at ¶ 38.
38
   Id. at ¶ 39.
39
   Id. at ¶ 40.
40
   Id. at ¶ 41.


                                                Page 6 of 15
                  b. I know where you live.

                  c. I could be at your doorstep at any time.

                  d. You’re acting all tough by sending that email but if we were face to face

                     you would be scared shitless.

                  e. I’m going to make sure that Vivint never sells to you again.

                  f. I’m going to make sure the Deacon of your church knows you’re a liar and

                     a scam artist.

                  g. If I’m going down, I’m going to take you down with me. 41

42.       Stunningly, after the threatening comments by Samuel, Defendant remitted a

          payment of $20,000.00 on September 17, 2021. 42

43.       Defendant then made two additional $20,000.00 payments, one October 1, 2021;

          and the second on October 19, 2021. 43

44.       In total, Defendant remitted $90,000.00 out of $488,547.00 owed to Plaintiff. 44

45.       Defendant owes an amount of not less than $398,547.00 to Plaintiff. 45

46.       As a result of Defendant breach of the Parties’ Agreement, it has become necessary

          for Plaintiff to prosecute these claims in order to attempt to recover injuries caused

          by Defendant. 46




41
   Id. at ¶ 42.
42
   Id. at ¶ 43.
43
   Id. at ¶ 44.
44
   Id. at ¶ 45.
45
   Id. at ¶ 46.
46
   Id. at ¶ 47.


                                               Page 7 of 15
                                          A RGUMENT

           Plaintiff respectfully requests that it be immediately granted, and given,

prejudgment permission to execute against any and all bank accounts maintained by

Defendant, and that Plaintiff be granted, and given, prejudgment permission to execute

against any other assets maintained by Defendant; including but not limited to, bank

accounts, or any other office equipment owned by Defendant, up to a value of not less

than $398,547.00. Plaintiff meets the criteria for issuance of a prejudgment writ as

detailed by Utah R. Civ. P. 64A(c)(1)-(3), accordingly, grounds exist for the issuance of

the pre-judgment writ in accordance with Utah R. Civ. P. 64A(c)(4) -(10).

     I.    P LAINTIFF M EETS THE R EQUIREMENT OF U TAH R. C IV . P. 64A(c) FOR I SSUANCE
           OF A P REJUDGMENT W RIT .

           Utah R. Civ. P. 64A(c)(1)-(3) requires “that the property is not earnings and not

exempt from execution; and. . . the writ is not sought to hinder, delay or defraud a creditor

of defendant; and. . . [there is] a substantial likelihood that the plaintiff will prevail on

the merits of the underlying claim.”

           Each of those elements is met in the instant case. The proposed property is: (a)

Cash Assets and Accounts Receivable; (b) Office Equipment; (c) Other Equipment; (d)

Computers; and (e) other property which may be discovered. The proposed property

subject to writ “is not earnings and is not exempt from execution.” 47 Plaintiff has no

knowledge any of Defendant’ other creditors. This writ is “not sought to hinder, delay

or defraud a creditor of Defendant.” 48 Finally, Plaintiff posits there is a substantial


47
     Utah R. Civ. P. 64A(c)(1).
48
     Id. at (c)(2).


                                           Page 8 of 15
likelihood that Plaintiff will prevail on the merits of this action based on the facts outlined

herein. 49

         Utah R. Civ. P. 64A(c)(5) through (c)(10) requires:

         [T]hat the defendant has assigned, disposed of or concealed, or is about to
         assign, dispose of or conceal, the property with intent to defraud creditors;
         or that the defendant has left or is about to leave the state with intent to
         defraud creditors; or that the defendant has fraudulently incurred the
         obligation that is the subject of the action; or that the prop erty will
         materially decline in value; or that the plaintiff has an ownership or special
         interest in the property; or probable cause of losing the remedy unless the
         court issues the writ. 50

         Although Plaintiff only need to meet one of the elements in Utah R. Civ. P.

64A(c)(4) through (c)(10), Plaintiff meets Utah R. Civ. P. 64A(c)(5), and (c)(7) through

(c)(10). Plaintiff will suffer irreparable injury if a writ is not issued because there is a

substantial risk the Defendant will attempt, or already has disposed of or concealed any

amounts owed to Plaintiff. 51

         Defendant registered with the Utah Division of Corporations and Commercial

Code as foreign limited liability company collection agency on April 25, 2018. As

outlined in the Statement of Facts, Plaintiff has ownership and special interest in the

collection accounts received by Defendant, and has a substantial risk of losing this

remedy unless this Court issues the requested writ. 52 Moreover, because of breach of

contract by Defendant, Plaintiff’s property has a substantial risk of losing all monies that

Defendant was contracted to recover because Defendant was successful in their collection



49
   Id. at (c)(3).
50
   Id. at (c)(5) through (c)(10).
51
   Id. at (c)(5); and Fuller Aff. at ¶¶ 45-46
52
   Id. at (c)(9) and (c)(10); see also, Complaint Verified; and Fuller Aff., generally.


                                                      Page 9 of 15
efforts.       Defendant placed these funds it collected in trust on Plaintiff’s behalf.

Defendant’s failure to remit the funds to Plaintiff breached their fiduciary duty to

Plaintiff. Specifically, Defendant engaged in a fiduciary activity when it began holding

funds owed to Plaintiff in trust.

           Furthermore, Plaintiff has substantially performed and relied on Defendant’s

promises under the Parties’ Agreement. Defendant breached the contract by failing to

abide by the Agreement terms contained within the contract. Defendant’s failure to abide

by the terms of the Agreement are in bad faith, grossly negligent, malicious, or

intentional. As a direct and proximate result of Defendant’s breach, Plaintiff suffered

considerable damages including both general and special, in the past and in the future.

           For all these reasons, Plaintiff satisfies the requirements of Utah R. Civ. P. 64A

for the issuance of a writ of attachment.

 II.       P LAINTIFF M EETS THE R EQUIREMENTS FOR A W RIT OF A TTACHMENT S TATED IN
           U TAH R. C IV . P. 64C( b ).

           Utah R. Civ. P. 64C(b) requires, before the issuance of a writ of attachment, that

the Plaintiff show “(1) that the defendant is indebted to the plaintiff . . . (2)(i) that the

action is upon a contract or is against a defendant who is not a resident of this state or is

against a foreign corporation not qualified to do business in this state; or . . . (2)(ii) the

writ is authorized by statute; and . . . (3) that payment of the claim has not been secured

by a lien upon property in this state.” 53




53
     Utah R. Civ. P. 64C.


                                             Page 10 of 15
         Here, there is an enforceable contract, in writing, between Plaintiff and

Defendant. 54        Specifically, Plaintiff entered into the Agreement with Defendant on

January 6, 2015, for the sole purpose of collecting on default accounts. 55 Defendant failed

to abide by the Agreement by refusing to remit the funds collected on behalf of Plaintiff. 56

Additionally, Defendant refused to cure any breaches. 57 Defendant’s interference with

the Parties’ Agreement caused Plaintiff to lose the benefit of the contract. At minimum,

Defendant owe Plaintiff no less than $398,547.00, for Defendant’s material breaches of

the Agreement.

         Therefore, Defendant are indebted to Plaintiff. The amounts owed to Plaintiff by

Defendant are the direct and proximate result of Defendant’s breach of fiduciary duties,

intentional or negligent interference with the Agreement, and the amounts owed to

Plaintiff are unsecured.

         Accordingly, all the elements for issuance of a writ of attachment have been met.

III.     P LAINTIFF       HAS AN       E XTREMELY H IGH L IKELIHOOD   OF   P REVAILING   ON THE
         M ERITS .

         All that must be shown in a breach of contract action is (1) that there was a

contract; (2) Plaintiff complied with the terms of that contract; (3) Defendant breached

the contract; resulting in (4) Plaintiff’s damages.

         Here, all four elements of the claim are strongly supported by the contract

(Collection Agreement), and Defendant’s breach of fiduciary duty. Accordingly, Plaintiff



54
   See Exhibit 1; see also, Fuller Aff. at ¶ 7.
55
   Id.; Fuller Aff. at ¶¶ 7-8.
56
   Fuller Aff. at ¶¶ 10-39, and 46.
57
   Id.


                                                  Page 11 of 15
has an extremely high likelihood of prevailing on the merits of its breach of contract

claim. Specifically, the contract makes plain the performance required of each party. 58

         Defendant entered into the Agreement with Plaintiff for the specific purpose of

Defendant attempting to collect on past due receivables owned by Plaintiff . 59 Pursuant

to the terms of the Agreement, Defendant were required to take all reasonable steps to

collect on the past due receivables owned by Plaintiff, from which, Defendant would

receive a 40% commission from amounts recovered. . 60           Pursuant to the Agreement,

Defendant will be responsible for all collection efforts performed on behalf of Plaintiff .” 61

Additionally, Defendant fraudulently retained all funds collected on behalf of Plaintiff,

without remitting the funds owed to Plaintiff. 62

         Defendant breached its fiduciary duty by failing to remit the funds collected on

behalf of Plaintiff. Plaintiff performed its contractual duties pursuant to the Agreement. 63

Defendant, on the other hand, failed to perform its obligations by materially breaching

the Agreement, and breaching the good faith and fair dealings owed to Plaintiff, breaching

the fiduciary duties owed to Plaintiff. 64 Defendant is fully aware of the amounts owed to

Plaintiff. 65




58
   See generally, Exhibit 1.
59
   See Exhibit 1; Fuller Aff. at ¶¶ 8-10.
60
   Id.; and Fuller Aff. at ¶¶ 9-10.
61
   Id. at ¶ VI.
62
   Fuller Aff. at ¶ 46.
63
   See generally, Exhibit 1
64
   Id., see also, generally, Fuller Aff.
65
   See Fuller Aff. at ¶ 46.


                                            Page 12 of 15
      Accordingly, it is evident that Plaintiff fully performed all its obligations, and in

fact exceeded the performance required. Meanwhile, Defendant failed to perform and

left with no less than $398,547.00, owed to Plaintiff.

                                      C ONCLUSION

      No other known person or entity can lawfully claim an interest in the monies

sought by Plaintiff. For all the foregoing reasons, this Court should issue a prejudgment

writ of attachment. Plaintiff respectfully requests that it immediately be granted a

prejudgment writ of garnishment, and be given prejudgment permission to execute against

any assets maintained by Defendant, including, but not limited to, any bank accounts,

construction equipment, vehicles, or other assets, up to the value of no less than

$398,547.00.

      S IGNED and D ATED this 19 th day of July 2022.

                                                         H EIDEMAN & A SSOCIATES
                                                         /s/ Norman W. Peat, Jr.
                                                         N ORMAN W. P EAT , J R .
                                                         Attorney for Plaintiff




                                       Page 13 of 15
                              C ERTIFICATE OF S ERVICE

      The undersigned hereby certifies that on July 19, 2022, a true and correct copy of
the foregoing M OTION FOR P REJUDGMENT W RIT OF A TTACHMENT , AND W RIT OF
G ARNISHMENT was served on the following individual(s) by the method indicated below.

 Party/Attorney                                       Method
 Defendant:
                                                       X   U.S. Mail, postage prepaid
   Capital Link Management, LLC                        X   Personal Service
   c/o Corporation Service Company                    __   Fax Transmission
   15 West South Temple, Suite 600                    __   Email
   Salt Lake City, Utah 84101                         __   Electronic
                                                      __   Filing/Notification


                                                      H EIDEMAN & A SSOCIATES
                                                      /s/ Kayla Jackson
                                                      K AYLA J ACKSON
                                                      Legal Assistant




                                      Page 14 of 15
Bilingual Notice to Responding Party for Motions (for compliance with URCP 7)


Notice to responding party                            Aviso para la parte que responde
You have a limited amount of time to                  Su tiempo para responder a esta moción
respond to this motion. In most cases, you            es limitado. En la mayoría de casos
must file a written response with the court           deberá presentar una respuesta escrita
and provide a copy to the other party:                con el tribunal y darle una copia de la
  x within 14 days of this motion being               misma a la otra parte:
    filed, if the motion will be decided by a           x dentro de 14 días del día que se
    judge, or                                              presenta la moción, si la misma será
  x at least 14 days before the hearing, if                resuelta por un juez, o
    the motion will be decided by a                     x por lo menos 14 días antes de la
    commissioner.                                          audiencia, si la misma será resuelta
                                                           por un comisionado.
In some situations a statute or court order
may specify a different deadline.                     En algunos casos debido a un estatuto o a
                                                      una orden de un juez la fecha límite podrá
If you do not respond to this motion or               ser distinta.
attend the hearing, the person who filed
the motion may get what they requested.               Si usted no responde a esta moción ni se
                                                      presenta a la audiencia, la persona que
See the court’s Motions page for more                 presentó la moción podría recibir lo que
information about the motions process,                pidió.
deadlines and forms:
utcourts.gov/motions                                  Vea la página del tribunal sobre Mociones
                                                      para encontrar más
                                                      información sobre el
                                                      proceso de las
                                    Scan QR code      mociones, las fechas      Para accesar esta página
                                     to visit page
                                                      límites y los               escanee el código QR
                                                      formularios:
                                                      utcourts.gov/motions-span
Finding help                                          Cómo encontrar
The court’s Finding Legal                             ayuda legal
Help web page                                         La página de la
(utcourts.gov/help)             Scan QR code
                                                      internet del tribunal
                                                                                Para accesar esta página
provides information about       to visit page        Cómo encontrar             escanee el código QR
the ways you can get legal                            ayuda legal
help, including the Self-Help Center,                 (utcourts.gov/help-span)
reduced-fee attorneys, limited legal help             tiene información sobre algunas maneras
and free legal clinics.                               de encontrar ayuda legal, incluyendo el
                                                      Centro de Ayuda de los Tribunales de
                                                      Utah, abogados que ofrecen descuentos u
                                                      ofrecen ayuda legal limitada, y talleres
                                                      legales gratuitos.


7101GEJ Approved April 16, 2018 /      Bilingual Notice to Responding Party for
Revised January 21, 2021                                Motions
                                             (for compliance with URCP 7)

                                           Page 15 of 15
Exhibit 1
J USTIN D. H EIDEMAN (USB #8897)
N ORMAN W. P EAT , J R . (USB #17836)
H EIDEMAN & A SSOCIATES
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Email: jheideman@heidlaw.com
       npeat@heidlaw.com
Attorneys for Plaintiff

                    IN THE FOURTH JUDICIAL DISTRICT COURT
                    IN AND FOR UTAH COUNTY, STATE OF UTAH

 MOUTAIN RUN SOLUTIONS, LLC, a                         A FFIDAVIT OF B RIAN F ULLER
 Utah Limited Liability Company,

       Plaintiff,

 vs.

 CAPITAL LINK MANAGEMENT, a Utah
 Foreign Limited Liability Company,
                                                            Case No.: 220401093
       Defendant.                                         Judge: Hon. Sean Petersen


S TATE OF U TAH       )
                     :ss.
C OUNTY OF U TAH      )

       I, B RIAN F ULLER , being first duly sworn and upon oath, state as follows:

1.     I am over eighteen (18) years of age, have personal knowledge of the matters in

       this affidavit, and am fully qualified to testify under the laws of the State of Utah.

2.     I am the President of Mountain Run Solutions, LLC (“MRS”), Plaintiff.

3.     MRS is a company that specializes in purchasing non -performing receivables in

       all industries.

4.     MRS started operations on or about May 2015, as Perfection Collection, LLC.


                                         Page 1 of 7
5.      In 2019, MRS changed its name from Perfection Collection, LLC, to Mountain

        Run Solutions, LLC.

6.      Capital Link Management (“CLM”) is a third-party collection agency that

        specializes in, but not limited to, the collection of consumer, commercial,

        installment loan, and medical debt. 1

7.      On January 6, 2015, agents for CLM, Jonathan Rinker (“Mr. Rinker”), and Samuel

        Piccione (“Mr. Piccione”) entered in to, and signed, the Collection Agreement

        (“Agreement”) on behalf of, and for CLM, with MRS in effort to recover non-

        performing receivables on behalf of MRS.

8.      Pursuant to the terms of the Agreement, MRS agreed that it would assign

        delinquent accounts of MRS it owned with MRS for collect efforts.

9.      Pursuant to the terms of the Agreement, CLM agreed that it was to take all

        reasonable steps to collect Accounts assigned to it (CLM).

10.     CLM accepted a forty (40) percent commission “on any payments that debtors send

        directly to Client (MRS) for assigned Account. . .”

11.     Pursuant to the terms of the Agreement, CLM was required to, and agreed that

        “[a]ll funds collected on Accounts shall be paid monthly minus the Agency’s

        (CLM’s) fee.”

12.     MRS started placing accounts with CLM shortly after all Parties signed the

        Agreement.



1
 Capital Link management, LLC operated its third-party collection agency under the name of previous name of
Commerce Recovery and Capital Management, LLC.


                                                Page 2 of 7
13.       MRS continued placing accounts with CLM until December 2020.

14.       In June of 2021, MRS became concerned with CLM’s ability to remit payments to

          MRS from CLM’s successful collection efforts.

15.       In anticipation of the Agreement being repudiated by CLM, Plaintiff requested

          adequate assurance of performance by Defendant.

16.       On June 23, 2021, Chris Carter (“Mr. Carter”), who holds the position of Chief

          Executive Officer with MRS, contacted CLM to discern whether CLM was going

          to remit amounts owed from the first half of May 2021.

17.       Specifically, Mr. Carter emailed CLM requesting if CLM is going to remit

          $48,482.96 that was due and owing.

18.       On June 29, 2021, after CLM failed to remit the amount owed or even communicate

          with MRs, Mr. Carter emailed CLM again requesting whether the funds would be

          paid that day.

19.       Again, CLM failed to remit any payments due and owning as required under the

          Agreement. 2

20.       On June 30, 2021, I contacted agent for CLM, Mr. Piccione, concerning the failure

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21.       Mr. Piccione confirmed that MRS would receive a payment the following day.

22.       Additionally, Mr. Piccione confirmed with me that CLM would cure all remaining

          outstanding amounts owed.




2
    Id.


                                          Page 3 of 7
23.   On July 1, 2021, CLM made a payment of $48,482.00 for the first half of the

      amount owed for May 2021.

24.   Nevertheless, CLM still owed the outstanding balance for May 2021 of

      $40,016.36.

25.   On July 19, 2021, after CLM failed to further remit any payments for the

      outstanding balance, Mr. Carter contacted CLM.

26.   Specifically, Mr. Carter emailed three of CLM’s agents, Mr. Piccione, Mr. Rinker,

      and “Denisa,” requesting that the second half of May 2021 remit be paid.

27.   CLM failed to respond.

28.   On July 22, 2021, I contacted Mr. Piccione via text message.

29.   I informed Mr. Piccione that CLM has failed not only to remit the second half of

      May 2021’s payments, but CLM has also failed to remit June 2021 payments.

30.   Mr. Piccione asserted that on July 23, 2021, CLM would send MRS the second

      half of May 2021’s payment, and both of July2021’s payments.

31.   CLM, again failed to remit any paymen ts as promised.

32.   Mr. Carter then sent Mr. Piccione text message on July 23, 2021, inquiring whether

      CLM wired the outstanding payments as promised.

33.   CLM, again, failed to respond.

34.   I then attempted to contact CLM on July 29, 2021, concerning the past due

      outstanding payments.

35.   CLM ignored this message as well.

36.   Finally, almost a month later, CLM wired Plaintiff a $30,000.00 payment.



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37.   On September 15, 2021, I emailed CLM’s agents, Mr. Piccione , Mr. Rinker, and

      Denisa, again concerning Defendant’s past due and own ing amounts.

38.   I requested that in order for CLM to resolve all outstanding balances that CLM

      remit a payment of $30,000.00 by September 17, 2021.

39.   Thereafter, CLM would be required to remit payments of $30,000.00 on the first

      and fifteenth of each month going forward until all past due and owing remits are

      resolved.

40.   Furthermore, I notified that if CLM cannot or will not resolve the outstanding, past

      due amounts by the expected timeline, MRS will require CLM from ceasing to run

      any future payments on accounts owned by MRS.

41.   Unbelievably, in response to my email, Mr. Piccione made threats against me.

42.   Specifically, Mr. Piccione made threats such as,

             a. Don’t think I can’t just take a flight over to Utah.

             b. I know where you live.

             c. I could be at your doorstep at any time.

             d. You’re acting all tough by sending that email but if we were face to face

                  you would be scared shitless.

             e. I’m going to make sure that Vivint never sells to you again.

             f. I’m going to make sure the Deacon of your churc h knows you’re a liar

                  and a scam artist.

             g. If I’m going down, I’m going to take you down with me.




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43.    Stunningly, after the threatening comments by Mr. Piccione, CLM remitted a

       payment of $20,000.00 on September 17, 2021.

44.    CLM then made two additional $20,000.00 payments, one October 1, 2021; and

       the second on October 19, 2021.

45.    In total, CLM remitted $90,000.00 out of $488,547.00 owed to MRS.

46.    CLM continues to owe an amount of not less than $398,547.00 to MRS.

47.    Because of CLM’s refusal to remit amounts owed to MRS, CLM left MRS no other

       choice but to file suit to recover the funds.

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/// (Verification following page)

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